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7
                                 UNITED STATES DISTRICT COURT
8                              NORTHERN DISTRICT OF CALIFORNIA
9
      JEFFREY KATZ CHIROPRACTIC, INC., a                    Case No. 3:20-cv-04108-CRB
10    California corporation, individually and on
      behalf of all others similarly situated,              PLAINTIFF’S NOTICE OF MOTION
11                                                          AND MOTION TO STRIKE OR
                             Plaintiff,                     EXCLUDE CLASS MEMBER
12                                                          DECLARATIONS OR FOR LEAVE TO
      v.                                                    TAKE DEPOSITIONS
13
      DIAMOND RESPIRATORY CARE, INC., a                     Date: December 9, 2021
14    California corporation,                               Time: 10:00 AM
                                                            Judge: Hon. Charles R. Breyer
15                           Defendant.                     Courtroom: 6
                                                            Complaint Filed: June 22, 2020
16
17
18          PLEASE TAKE NOTICE that on December 9, 2021, at 10:00 AM, counsel for Plaintiff

19   Jeffrey Katz Chiropractic, Inc. (“Plaintiff” or “Katz”) shall appear before the Honorable Charles

20   R. Breyer or any judge sitting in his stead in Courtroom 6, 17th Floor of the United States District

21   Court for the Northern District of California, 450 Golden Gate Avenue, San Francisco, CA 94102

22   and present Plaintiff’s Motion to Strike or Exclude Class Member Declarations or for Leave to

23   Take Depositions (“Motion”).

24          Plaintiff requests that the Court issue an Order striking or excluding all of the class

25   member declarations filed in support of Defendant Diamond Respiratory Care, Inc.’s opposition

26   to motion for class certification or grant Plaintiff’s counsel leave to depose the declarants.

27          On November 3, 2021, counsel for Plaintiff and Diamond conferred regarding the instant

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1    motion and were unable to come to an agreement regarding the requested relief.
2           This Motion is based on this Notice and Motion, the attached Memorandum of Points and
3    Authorities and exhibits attached thereto, oral argument of counsel, and any other matter that may
4    be submitted at the hearing.
5
6    Dated: November 4, 2021                              JEFFREY KATZ CHIROPRACTIC,
                                                          INC., individually and on behalf of all others
7                                                         similarly situated,
                                                          /s/ Patrick H. Peluso
8
                                                          One of Plaintiff’s Attorneys
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19
                                                          *pro hac vice admission
20
21
22
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26
27
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 1                        MEMORANDUM OF POINTS AND AUTHORITIES
 2          At the commencement of this litigation, Defendant Diamond Respiratory Care, Inc.
 3   (“Defendant” or “Diamond”) lacked any evidence to support its claim that it supposedly complied
 4   with the Telephone Consumer Protection Act of 1991, as amended by the Junk Fax Prevention
 5   Act of 2005, 47 U.S.C. § 227 (“JFPA” or the “Act”). In an attempt to cure this shortcoming,
 6   Diamond and its counsel have attempted to manufacture such “evidence” by leveraging its
 7   existing client relationships and requesting that Diamond’s existing clients sign declarations
 8   supporting its arguments. This has netted Diamond fourteen declarations plus two supplemental
 9   declarations. Unfortunately for Diamond, all of the declarations should be stricken or excluded.
10          First, Diamond failed to adequately disclose any of its claimed witnesses in discovery.
11   Despite being notified in July 2021 of its obligation to disclose such information, Diamond waited
12   until October 15, 2021—two days after it filed its opposition to class certification—to even
13   attempt to supplement its initial disclosures to identify any of these witnesses. Even still,
14   Diamond has not disclosed the contact information for any of the witnesses, which it culled from
15   its own internal systems.
16          Second, the declarations were procured in a misleading and potentially coercive fashion.
17   That is, Diamond failed to disclose the actual purpose for which it sought to interview the
18   potential class members. Instead, Diamond informed the declarants that it was simply gathering
19   facts related to the case. In reality, Diamond was attempting to procure declarations that were
20   adverse to the declarants’ own interests. Diamond also failed to explain what the terms of the
21   declarations meant in the context of this litigation. Consequently, the Court should strike or
22   exclude all of the declarations procured through this process.
23          Third, portions of the declarations should be stricken because they include legal
24   conclusions. That is, all of the declarations contain a nearly identical statement that they
25   “consented” to receive faxes from Diamond absent any facts to support the conclusion. Now,
26   Diamond attempts to pass off these legal conclusions as evidence of prior invitation or permission
27   to send the faxes at issue. This is improper.
28          Finally, three of the declarations are undated. It’s well-settled that for a declaration to be
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 1   admissible it must be signed and dated. This offers the Court an alternative basis to strike these
 2   declarations.
 3           For all of these reasons and as set forth below, the Court should enter an order striking or
 4   excluding the class member declarations or granting leave to depose the declarants.
 5   I.      STATEMENT OF ISSUES TO BE DECIDED
 6           Whether the Court should strike or exclude the declarations of potential class members,
 7   which were produced as evidence by Diamond in opposition to Plaintiff’s motion for class
 8   certification.
 9   II.     FACTS AND PROCEDURAL HISTORY
10           On June 22, 2020, Plaintiff filed the instant case against Diamond alleging wide-scale
11   violations of the Telephone Consumer Protection Act of 1991, as amended by the Junk Fax
12   Prevention Act of 2005, 47 U.S.C. § 227, et seq.
13           Over a year later, on July 12, 2021, Diamond, in the context of a settlement
14   communication, produced nine (9) declarations from potential class members, including
15   declarations executed by Ena Ibarra, Adrien Rances, Lianna Medina, Ivon Rodriguez, Maria
16   Teresa Politico, Jodi Stadler, Mayra Ramos, Laura Avila, and Rose Briceno (collectively “Initial
17   Declarations”). (Declaration of Taylor T. Smith (“Smith Decl.”) ¶ 3, attached hereto as Grp. Ex.
18   A; see also Dkt. 37-2, pg. 61.) The Initial Declarations, which are attached hereto as Group
19   Exhibit B, were not formally produced in discovery until August 13, 2021. (Smith Decl. ¶ 3.)
20           In or around July 2021, after receiving the Initial Declarations, Plaintiff’s counsel
21   requested that Diamond supplement its initial disclosures to identify the declarants if it intended
22   to rely on the declarations in this case. (Id. ¶ 4.) At this time, Diamond’s counsel, Paul
23   Grammatico, stated that he would review the disclosures and discovery responses to determine if
24   that was necessary. (Id.)
25           In August 2021, having received no disclosures from Diamond, Plaintiff’s counsel began
26   attempting to locate and speak with the individuals who had signed the declarations. (Id. ¶ 5.)
27   Based on those conversations, it was clear that Diamond and its counsel failed to inform the
28   declarants of the nature and purpose of their interactions. (Id. ¶¶ 7, 9, 11, 13, 17.) Further, it was
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 1   also clear that Diamond and its counsel failed to define the terms contained within the
 2   declarations. (Id.) Indeed, none of the declarants interviewed could recall any facts to support the
 3   declarations’ claims that they had consented to receive faxes from Diamond. (Id.) The
 4   declarations also contained inaccuracies (Id. ¶¶ 7, 19), and one of the declarants could not be
 5   located (Id. ¶ 20).
 6           On September 2, 2021 Plaintiff moved for class certification. (Dkt. 34.) Six weeks later,
 7   on October 15, 2021, Diamond served its supplemental initial disclosures. (Smith Decl. ¶ 22.) For
 8   the first time, the disclosures generally listed the names of the declarants, however, Diamond still
 9   did not provide any contact information for any of the declarants or the subject matter of their
10   testimony. (Id.) At the same time, Diamond also disclosed five additional declarants (attached
11   hereto as Group Exhibit C), along with two supplemental declarations from prior declarants,
12   Adrien Rances (attached hereto as Ex. D) and Laura Avila (attached hereto as Ex. E).
13   III.    ARGUMENT
14           The class member declarations produced in opposition to class certification should be
15   stricken or excluded because Diamond failed to adequately disclose any of its purported
16   witnesses, the declarations were obtained through coercive and misleading communications,
17   portions of the declarations constitute legal conclusions, and some of the declarations are undated.
18           A.      Diamond Failed To Adequately Disclose The Declarants In Discovery.
19           Fed. R. Civ. P. 26 “requires that potential witnesses be identified and their contact
20   information and subjects of the relevant information that they possess provided, either in initial or
21   supplemental disclosures.” Holak v. K Mart Corp., No. 1:12-CV-00304-AWI, 2014 WL 4930762,
22   at *5 (E.D. Cal. Sept. 30, 2014) (emphasis added). The Ninth Circuit has warned litigants to not
23   “indulge in gamesmanship with respect to the disclosure obligations”. Ollier v. Sweetwater Union
24   High Sch. Dist., 768 F.3d 843, 863 (9th Cir. 2014) (citation omitted). Indeed, a delayed disclosure
25   frustrates the purpose of discovery—which is “to remove surprise from trial preparation so the
26   parties can obtain evidence necessary to evaluate and resolve their dispute.” Alves v. Riverside
27   Cty., No. 519CV02083JGBSHK, 2021 WL 3601986, at *2 (C.D. Cal. Apr. 12, 2021) (citation
28   omitted). As such, when a party “fails to provide information or identify a witness as required by
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 1   Rule 26(a) or (e), the party is not allowed to use that information or witness to supply evidence on
 2   a motion, at a hearing, or at a trial, unless the failure was substantially justified or is harmless.”
 3   Epitech, Inc. v. Krause, No. CV1505672SJOAGRX, 2016 WL 7637660, at *2 (C.D. Cal. Sept.
 4   21, 2016) (citing Fed. R. Civ. P. 37(c)(1)).
 5           To determine whether a late disclosure was substantially justified or harmless, courts
 6   consider the following factors: “(1) prejudice or surprise to the party against whom the evidence
 7   is offered; (2) the ability of that party to cure the prejudice; (3) the likelihood of disruption of the
 8   trial; and (4) bad faith or willfulness involved in not timely disclosing the evidence.” Barnett v.
 9   Garrigan, No. 20-CV-02585-VC, 2021 WL 4851043, at *1 (N.D. Cal. Oct. 19, 2021) (citing
10   Lanard Toys Ltd. v. Novelty, Inc., 375 Fed. App’x 705, 713 (9th Cir. 2010)). The burden to
11   demonstrate that the withholding was substantially justified or harmless falls on Diamond.
12   Tristrata, Inc. v. Microsoft Corp., No. 11-CV-03797-JST, 2013 WL 12172909, at *3 (N.D. Cal.
13   May 13, 2013). However, “[d]isruption to the schedule of the court and other parties ... is not
14   harmless.” Id. at *2 (quoting Wong v. Regents of Univ. of California, 410 F.3d 1052, 1062 (9th
15   Cir. 2005)).
16           Here, Diamond’s failure to disclose the witnesses’ contact information was not harmless.
17   There is no doubt that Diamond considers this evidence important to its defense. It specifically
18   identified a sample of the declarations in its July 12, 2021, settlement letter as a basis for its
19   defense against class certification. (See Dkt. 37-2, pg. 62.) Further, it relies heavily on the
20   declarations throughout its opposition to class certification. (See, e.g., Dkt. 37.) And regardless,
21   Diamond failed to disclose any of the contact information—which it obtained from its own
22   internal systems—as required by Rule 26. (Smith Decl. ¶ 22; see also Diamond Supp.
23   Disclosures, attached hereto as Ex. F.) This has prejudiced Plaintiff’s ability to locate the
24   witnesses. (Smith Decl. ¶¶ 16, 19, 20.) Indeed, one of the declarants does not work for the
25   business that Diamond claims it does (id. ¶ 19), and one apparently works for a business that isn’t
26   registered with the California Secretary of State, and its only publicly listed telephone number is a
27   disconnected number (id. ¶ 20). Additionally, five of the declarations were not disclosed until
28   after Diamond filed its opposition to class certification despite the declaration being obtained in
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 1   September. (Id. ¶ 23; see also Grp. Ex. C.) In short, Diamond understood in July 2021 that this
 2   evidence would play a critical role in its defense. Nevertheless, it chose to withhold all of the
 3   declarants’ contact information. As such, Diamond’s actions have deprived Plaintiff of a
 4   meaningful opportunity to question its witnesses.
 5          Additionally, there is no justification for Diamond’s failure to disclose the witnesses.
 6   During a conversation in or around July 2021, Plaintiff’s counsel specifically notified Diamond’s
 7   counsel of its obligation to supplement its initial disclosures if it planned to rely on the
 8   declarations. (Id. ¶ 4.) Diamond’s counsel stated that he would review the disclosures. (Id.)
 9   Nevertheless, Diamond waited to supplement its disclosures until October 15, 2021 (17-days prior
10   to the close of discovery). (Ex. F; Smith Decl. ¶ 22.) Still, Diamond only included the names of
11   the “witnesses” absent any of the corresponding contact information as required by Fed. R. Civ.
12   P. 26(a)(1)(A). (See Ex. F.) Given the late stage of the disclosure, there is simply no way to cure
13   this defect. Discovery has now closed, and Plaintiff has lost a meaningful opportunity to question
14   many of the declarants.
15          Put simply, Diamond’s gamesmanship should not be countenanced. It intentionally
16   delayed disclosing the witnesses that it intended to rely on to oppose class certification. The Court
17   should strike or exclude each of these declarations accordingly.
18          B.      By Failing To Disclose The Actual Purpose Of Its Communications, Diamond
                    Obtained The Declarations In A Coercive And Misleading Manner.
19
            The Court should also strike the declarations because they were obtained through coercive
20
     and misleading exchanges. While defendants are not barred from pre-certification
21
     communications with potential class members, courts may place limitations on “pre-certification
22
     communications” when there is evidence that “misleading, coercive, or improper communications
23
     have taken place.” Quezada v. Schneider Logistics Transloading & Distribution, No. CV 12-2188
24
     CAS DTBX, 2013 WL 1296761, at *4 (C.D. Cal. Mar. 25, 2013) (Maddock v. KB Homes, Inc.,
25
     248 F.R.D. 229, 236 (C.D. Cal. 2007); Longcrier v. HL–A Co., Inc., 595 F.Supp.2d 1218, 1227
26
     (S.D.Ala.2008)). Courts have recognized that “in an ongoing business relationship, . . . any
27
     communications are more likely to be coercive.” Mevorah v. Wells Fargo Home Mortg., Inc., a
28
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 1   div. of Wells Fargo Bank, No. C 05-1175 MHP, 2005 WL 4813532, at *4 (N.D. Cal. Nov. 17,
 2   2005) (citation omitted). Evidence obtained through coercive or misleading communications
 3   should be stricken or excluded. See Longcrier, 595 F. Supp. 2d at 1230; Bowe v. Pub. Storage,
 4   No. 1:14-CV-21559-UU, 2015 WL 10857339, at *6 (S.D. Fla. June 2, 2015).
 5          The case of Quezada v. Schneider Logistics Transloading & Distribution is instructive. In
 6   Quezada, an employer obtained 106 sworn declarations from its employees. No. CV 12-2188
 7   CAS DTBX, 2013 WL 1296761, at *1 (C.D. Cal. Mar. 25, 2013). Prior to obtaining the
 8   declarations, the defendant explained to the subjects that they were potential class members, that
 9   participation was “voluntary”, that signing the declaration was “voluntary”, that they could ensure
10   that the declarations were “truthful and accurate”, and that the defendant could not retaliate
11   against them. Id. at *2. Despite all of these disclosures, the court found that the declarations were
12   obtained through improper and coercive methods because it “failed to notify the employees of the
13   nature and purpose of the communications.” Id. at *5. As the Quezada court explained,
14   “[c]rucially, the employees were never told that the purpose of the interviews was to gather
15   evidence to be used against the employees in a lawsuit.” Id. (emphasis added). Indeed:
16          Failing to inform the employees of the evidence-gathering purpose of the interviews
            rendered the communications fundamentally misleading and deceptive because the
17          employees were unaware that the interview was taking place in an adversarial
18          context, and that the employees' statements could be used to limit their right to
            relief.
19
     Id. (emphasis added). The court ultimately disregarded all of the declarations and issued an order
20
     limiting the defendant’s contact with potential class members. Id. at *6.
21
            Similarly, this Court in Mevorah, found that failing to inform a subject that their interests
22
     may be adverse to the interviewer’s interest is misleading. Mevorah, 2005 WL 4813532, at *5.
23
            The declarations at issue here are the product of coercive and improper communications.
24
     While Diamond and its counsel claim that they informed the declarants that speaking with them
25
     was entirely voluntary, just as in Quezada, none of the declarants were told that their interests
26
     may be adverse to Diamond’s position in the case. Indeed, when Plaintiff’s counsel contacted the
27
     same declarants, they stated that they were not informed that they may be potential class members
28
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 1   or that by signing the declarations they may be giving up their right to participate in any future
 2   class or receive a portion of the money obtained from a favorable judgment. (Declaration of Rosa
 3   Briceno (“Briceno Decl.”) ¶ 6, attached hereto as Ex. G; see also Smith Decl. ¶¶ 7, 9, 11, 13.)
 4   Even Diamond’s counsel concedes that its actual purpose was not disclosed. That is, Mr.
 5   Grammatico avers that he informed the declarants that he “was reaching out to gather information
 6   about relevant facts in the lawsuit”. (Dkt. 37-2 ¶ 5.) But in its deposition, Diamond’s designee
 7   testified that the purpose of contacting class members was to find individuals who would say they
 8   “consented” to receive faxes. (Dkt. 34-1, at 154:1-155:6.) In other words, Diamond set out to
 9   obtain statements favorable to its own position and adverse to the declarants’ interests. In the
10   process, Diamond misled those individuals.
11          Even more problematic is the fact that Diamond never defined what the term “consent”
12   meant within the context of the JFPA. (Briceno Decl. ¶ 4; Smith Decl. ¶¶ 7, 9, 11, 13, 17.) Rather,
13   many of the declarants clarified that they signed the declarations because they had an ongoing
14   business relationship with Diamond and that they had no issue receiving faxes from Diamond.
15   (Id.) This is not consent under the JFPA. See Physicians Healthsource, Inc. v. A-S Medication
16   Sols., LLC, 950 F.3d 959, 966 (7th Cir. 2020) (“evidence of permission to generally send faxes
17   does not establish prior express permission to fax ads.”). Further, none of the declarants that were
18   interviewed could identify when their fax number was provided to Diamond or if they provided
19   Diamond permission or invitation to receive faxes prior to the receipt of faxes. (Briceno Decl. ¶ 4;
20   Smith Decl. ¶¶ 7, 9, 11, 13, 17.) Nevertheless, Diamond still requested that the individuals sign
21   declarations saying they “consented” to receive faxes absent any explanation of what that term
22   meant. Diamond then offered those declarations as “evidence” to the Court of prior invitation or
23   permission to attempt to defeat certification. This further evinces Diamond’s intent to mislead the
24   declarants for its own advantage.
25          Additionally, Diamond’s ongoing business relationship with the declarants creates an
26   inherently coercive situation. Tellingly, the declarants that were interviewed explained that they
27   signed the declarations saying they “consented” because of their ongoing business relationship.
28   (Briceno Decl. ¶ 4; Smith Decl. ¶¶ 7, 9, 11, 13, 17.) Some of the declarants also inquired about
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 1   how this would affect their relationship with Diamond, and many expressed frustration with the
 2   process and a desire to not be involved in the litigation. (Smith Decl. ¶ 21.) One of the declarants
 3   even refused to speak with Plaintiff’s counsel until after she spoke with Diamond’s counsel. (Id. ¶
 4   19.) Put simply, Diamond inappropriately coerced its existing clients into signing declarations to
 5   attempt to gain an advantage in the litigation.
 6          Additionally, Diamond and its counsel aided two of the declarants to sign supplemental
 7   declarations that were false. That is, Diamond has produced two declarations signed by Laura
 8   Avila and Adrien Rances, both of which claim that Plaintiff’s counsel failed to identify who he
 9   was and also asked them to sign declarations that contained false statements. (Ex. D; Ex. E.) This
10   is simply not true. Rather, when Plaintiff’s counsel reached out to the declarants, he identified
11   who he was, who he represented, and the nature and purpose of the call. (Smith Decl. ¶ 6.) Based
12   on the conversations with Avila and Rances, it was clear that their initial signed declarations were
13   inaccurate—this is mostly because Diamond’s counsel failed to explain “consent” under the
14   JFPA. (Id. ¶¶ 13, 17) Both Avila and Rances agreed to sign supplemental declarations to clarify
15   their prior defense drafted declarations. (Id.) Thereafter, and in direct contradiction to both
16   Avila’s and Rances’s sworn statements, Plaintiff’s counsel sent the draft declarations in word
17   format, along with their prior declarations, and asked whether the declarations were “accurate”,
18   “agreeable”, or if “the language should be changed”. (See Avila Emails and Rances Emails,
19   attached as Exs. 1 and 2 to the Smith Decl., respectively.) At no time did Plaintiff’s counsel ask
20   either Avila or Rances to sign any declaration that was inaccurate. (Smith Decl. ¶¶ 14, 18.)
21          While Avila did not dispute the accuracy of the declaration, she simply stated that she did
22   not want to be involved in the lawsuit or sign any further declarations. (Id. ¶ 15.) At this point,
23   Plaintiff’s counsel ceased communication with Avila. (Id.) Rances likewise did not dispute the
24   accuracy of the supplemental declaration. (Id. ¶ 18.) Instead, in response to a follow-up email,
25   Rances responded by asking if counsel worked for Diamond. (Id.; see also Ex. 2 to Smith Decl.)
26   Plaintiff’s counsel again explained that he did not work for Diamond and that he represented the
27   plaintiff in a lawsuit against Diamond. (Id.) To this, Rances responded, “Than [sic] I will not be
28   signing thank you” (id.)—the implication being that she would have signed the declaration if it
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 1   helped Diamond. This further demonstrates the coercive effect that Diamond and its counsel have
 2   had on the declarants.
 3          Because the declarations were procured by Diamond through misleading and coercive
 4   communications, the Court should strike or exclude each of the declarations. Further, the Court
 5   should enter an order limiting defense counsel’s future communications with the alleged class.
 6          C.      The Declarations Also Contain Improper Legal Conclusions.
 7          Portions of the declarations should also be stricken because they merely state legal
 8   conclusions. Relevant here, “legal arguments or conclusions contained in declarations are
 9   improper and should be stricken.” McElmurry v. US Bank Nat'l Ass'n, No. CV-04-642-HU, 2005
10   WL 8177214, at *3 (D. Or. Dec. 1, 2005) (citing Pacific Gas & Elec. Co. v. Lynch, 216 F. Supp.
11   2d 1016, 1027 (N.D. Cal. 2002); Starke Cty. Farm Bureau Co-op. Ass'n v. ICC., 839 F. Supp.
12   1329, 1337 n.14 (N. D. Ind. 1993)); see also Stephens v. Douglas Cty. Fire Dist. No. 2, No. 2:15-
13   CV-115-RMP, 2016 WL 9462337, at *3 (E.D. Wash. Sept. 7, 2016) (“A lay witness may not
14   testify to a legal conclusion.” (citing United States v. Crawford, 239 F.3d 1086, 1090 (9th Cir.
15   2011))). Where a declarant attempts to pass off a legal conclusion as a fact, the proper remedy is
16   to strike that portion of the declaration. See Torres v. Mercer Canyons, Inc., No. 1:14-CV-03032-
17   SAB, 2015 WL 10937553, at *1 (E.D. Wash. Mar. 27, 2015) (striking a declaration containing
18   “repeated legal conclusions”).
19          Here, all of the declarations contain a nearly identical legal conclusion. That is, each
20   declaration states some form of the phrase, “[i]n the context of this business relationship,” the
21   business “voluntarily provided its fax number to Diamond and has consented to receive faxes,
22   including faxes like the one attached as ‘Exhibit A’ from Diamond.” (Group Exhibits. B & C
23   (emphasis added).) As explained above, none of the declarants were informed what the term
24   “consent” meant in the context of the JFPA, and none of the declarants that were interviewed
25   could identify when or how they provided their fax number or supposed consent to Diamond.
26   Nevertheless, Diamond has now attempted to pass off these conclusory statements as proof of
27   prior express permission of invitation. This is improper.
28          Accordingly, this offers the Court a third basis for striking or excluding the declarations.
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 1           D.     Three Of The Declarations Are Undated And Therefore Not Proper.
 2           The declarations of Laura Avila, Liana Medina, and Ivon Rodriguez should also be
 3   stricken for failure to comply with 28 U.S.C. § 1746. Each of the declarations is undated. (Grp.
 4   Ex. B, pgs. 13-22, 38-42.) “For a declaration to be admissible before the Court, it must be dated.”
 5   Rosales v. El Rancho Farms, No. 1:09-CV-00707-AWI, 2011 WL 6153212, at *8 (E.D. Cal. Dec.
 6   12, 2011) (citing 28 U.S.C. § 1746); see also Walton v. Van Ru Credit Corp., No. 10-344, 2011
 7   WL 6016232, at *6 (N.D. Ill. Dec. 2, 2011) (striking affidavits and explaining, “the absence of a
 8   signature or specific date easily proves to be the death knell of these submissions.” (citation
 9   omitted)). The Court should strike these declarations for this reason as well.
10           E.     To The Extent The Declarations Are Not Stricken, Plaintiff’s Counsel Should
                    Be Granted Leave To Depose The Declarants.
11
             In light of the above, the declarations should all be stricken or excluded. To the extent the
12
     Court disagrees, however, Plaintiff’s counsel should be afforded an opportunity to depose the
13
     witnesses. This option is not ideal given that discovery has closed, depositions would take
14
     significant time to complete, and these witnesses/proposed class members have been harassed
15
     enough already. Depositions would also be costly and of questionable proportion to the needs of
16
     the case. At the same time, the declarations shouldn’t be accepted untested into the record. As
17
     such, and solely in the alternative, in the event the Court isn’t inclined to strike or exclude the
18
     declarations, Plaintiff’s counsel should have a fair opportunity to depose the declarants (who,
19
     again, were disclosed late and misled into providing their testimony).
20
     IV.     Conclusion
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             The Court should put an end to Diamond’s gamesmanship. Diamond’s procurement of the
22
     class member declarations was improper, including its failure to disclose the declarants, its
23
     coercive and misleading communications, and its attempt to pass off legal conclusions as facts.
24
     As such, the Court should enter an Order striking or excluding the class member declarations (or
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     allow Plaintiff’s counsel to depose the declarants), and awarding any further relief that the Court
26
     deems reasonable and just.
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28
     MOTION TO STRIKE OR EXCLUDE                       10
     CLASS MEMBER DECLARATIONS
         Case 3:20-cv-04108-CRB Document 42 Filed 11/04/21 Page 13 of 14




 1
                                               Respectfully,
 2
 3   Dated: November 4, 2021                   JEFFREY KATZ CHIROPRACTIC,
                                               INC., individually and on behalf of all others
 4                                             similarly situated,
 5                                             /s/ Patrick H. Peluso
                                               One of Plaintiff’s Attorneys
 6
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16
                                               Counsel for Plaintiff and the Putative Class
17
                                               *pro hac vice admission
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     MOTION TO STRIKE OR EXCLUDE          11
     CLASS MEMBER DECLARATIONS
         Case 3:20-cv-04108-CRB Document 42 Filed 11/04/21 Page 14 of 14




 1                                   CERTIFICATE OF SERVICE
 2           The undersigned hereby certifies that a true and correct copy of the above papers was
 3   served upon counsel of record by filing such papers via the Court’s ECF system on November 4,
 4   2021.
 5                                                /s/ Patrick H. Peluso
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     MOTION TO STRIKE OR EXCLUDE                     12
     CLASS MEMBER DECLARATIONS
